                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                             :
DEAN MOSTOFI
                                             :

      v.                                     :    Civil Action No. DKC 11-2011

                                             :
EQUIFAX INFORMATION SOLUTIONS,
INC., et al.                                 :

                               MEMORANDUM AND ORDER

      Presently pending and ready for resolution are Plaintiff’s

Motions to Strike Experian’s Bill of Costs (ECF No. 200) and

Trans Union’s Bill of Costs (ECF No. 205).                          For the following

reasons,    the   motions       will    be   denied        and    the   Clerk    will   be

instructed to tax costs.

      After   this     court    entered      judgment       on     Plaintiff’s    claims

against    them   on      March    5,    2014,       both        Experian   Information

Solutions, Inc. and Trans Union LLC filed timely Bills of Costs.

ECF Nos. 173 and 175.             Because Plaintiff noted an appeal, the

Clerk denied costs without prejudice to renewal “within 14 days

of   the   U.S.   Court    of     Appeals        issuing    any     mandate     affirming

judgment against Plaintiff.” ECF No. 189.                          The Fourth Circuit

issued an opinion on August 18, 2014, but the Mandate didn’t

issue until September 9, 2014.                    The Defendants filed renewed

Bills of Costs on September 10, 2014 (Experian) and September

19, 2014 (Trans Union).           Plaintiff’s contention that these Bills
of Costs are untimely is simply mistaken.                 He asserts that the

time   for   filing   began   with   the       issuance   of   the   opinion   in

August.      To the contrary, the time for filing began with the

issuance of the mandate.

       Accordingly, the motions to strike are DENIED and the Clerk

is DIRECTED to CLOSE this case.



                                           ________/s/________________
                                           DEBORAH K. CHASANOW
April 3, 2015                              United States District Judge




                                           2
